Case 8:21-cv-01736-TDC Document 1-10 Filed 07412/21 Page 1 of 2

MONTGOMERY COUNTY SHERIFF'S OFFICE
RECORD OF SERVICE

To Be Served: MONTGOMERY COUNTY MARYLAND Case Number: 485899V Jrd:0001

CP ID: 3111558

Address ID: 823812 Address Type BUS PRA: 276

Address: 101 MONROE ST FLR 3 Bailiwick: 8 - 08 Civil Section

ROCKVILLE, MD 20850

Plaintiff: MARYLAND SHALL ISSUE INC

CaseType: CIVIL Court Type: CIRCUIT

County/State: Montgomery County, MD
Received Date: 06/04/2021 Expiration Date: 08/01/2021

Paper Type: SUMMONS (FEE)

Deputy: An Active Officer is not assigned.

SUM, NEW CASE SUM, NEW CASE #, ADM NTC, SCHED ORD-TRK II, BLK CIV-NON-DOM CASE INFO,
VERIFIED COMPLAINT OF DECL & EQ RLF, DECL OF PLN D CARLIN-WEBER, A RAYMOND, C RABANALES,
B FERRELL, D WEAVER, J EDGAR, R DAVID, N DAVID, EXS A-B & CIV-NON-DOM CASE INFO

SERVICE ATTEMPTS
Addr ID # Date/Time Attempt By Reason Reason Description
823812 1 06/10/2021 1105 6279 S
Deputy ID/Name: 6279 IBARRA, SANMI D - MCSO

Disposition: SERVED
Served To Name: MONTGOMERY COUNTY MARYLAND

Served To Desc: A/S REBECCA RIECK RACE: W SEX: F HGT: 5'02 WGT: 200 AGE: 50'S
ADMIN AID

Ohm 11. Pekin

EJS Entry By: GARCIA, LARITZA

True Test Copy:

 

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CFs

 

BARE es

“Case Number IM i ANP x:

485899V Jrd:0 3111558

Page 1 of 1

EJS Entry Date: 06/15/2021

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Print Time: 06/15/2021 1242
 

OMSEHERIBECUL7TROURT FORUANTGOMERY GOV 2/4, MAREYRAND
WRIT OF SUMMONS

(248)
Case No: 485899-V
TO: (Service Address)
MONTGOMERY COUNTY MARYLAND MARC P HANSEN
101 MONROE STREET COUNTY ATTORNEY
ROCKVILLE MD 20850 MONTGOMERY COUNTY MD

101 MONROE STREET 3RD FLOOR
ROCKVILLE MARYLAND 20850

You are hereby summoned to file a written response by pleading or motion in this court to the
attached complaint filed by:

MARYLAND SHALL ISSUE INC
| ~=within 30 days after service of this summons upon you.

Witness, the Honorable Chief Judge of the Sixth Judicial Circuit of Maryland.

TO THE PERSON SUMMONED:

1. Failure to respond within the time allowed may result in a default judgment or the granting
of the relief sought against you.

2. |f you have been served with a Scheduling Order, your appearance is required pursuant to
the Scheduling Order, regardless of the date your response is due.

3. If you have questions, you should see an attorney immediately. If you need help finding an
attorney, you may contact the Bar Association of Montgomery County’s Lawyer Referral
Service online at www.barmont.org or by calling (301) 279-9100.

Kéren A. Bushell

CLERK of the Circuit Court
Montgomery County, Maryland
50 Maryland Avenue
Rockville, MD 20850-2393

Date Issued: 06/02/2021

 

  

NOTE:

1. This summons is effective for service only if served within 60 days after the date it is issued.

2. Proof of service shall set out the name of the person served, the date, and the particular
place and manner of service. If service is not made, please state the reason(s).

3. Return of served or unserved process shall be made promptly and-in accordance with Rule

2-126. a
4. If this summons is served by private process, process server shall; file a separate affidavit as
required by Rule 2-126(a). es

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RETURN Sa
[ ] Served on at 3
(Whom) (Date) *(City/State/Country)
[ ] Summons and [ ] Show Cause Order and [ ] Complaint/Petition/Motion Served
bast
[ ] Unserved ici
(Date) (Reason) ad
{ ] Sheriff

 

(Signature)

 

 

 

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SUMIKAF 06/02/2021 13:13:07
